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 8                          UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11    ZEETOGROUP, LLC; TIBRIO, LLC,                    Case No.: 19-CV-458 JLS (NLS)
12                                   Plaintiffs,
                                                       ORDER GRANTING JOINT
13    v.                                               MOTION TO DISMISS WITH
                                                       PREJUDICE
14    NICHOLAS FIORENTINO, an
      individual; SABIHA TUDESCO, an
15                                                     (ECF No. 102)
      individual; INTERNET THINGS, LLC;
16    SIMPLY SWEEPS, LLC;
      CREDIREADY, LLC; TWO MINUTE
17
      MEDIA TOPICS, LLC; and DOES 1-100,
18    inclusive,
19                                 Defendants.
20
21          Presently before the Court is the Parties’ Joint Motion to Dismiss Matter with
22    Prejudice (ECF No. 102). Good cause appearing, the Court GRANTS the Joint Motion.
23    As stipulated by the Parties, the Court DISMISSES WITH PREJUDICE the action in its
24    ///
25    ///
26    ///
27    ///
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     Case 3:19-cv-00458-JLS-NLS Document 103 Filed 12/30/20 PageID.2461 Page 2 of 2



 1    entirety, with each Party to bear its own costs and attorney’s fees. The Clerk of Court will
 2    close the file.
 3           IT IS SO ORDERED.
 4    Dated: December 30, 2020
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